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                                                                                 FILEr;,
                         UNITED STATES DISTRICT COURT
                         NORTIIERN DISTRICT OF ILLINOIS                             AUG 23 Z012
                               EASTERN DIVISION
                                                                             C rHOMAS G. BRUTON
LTNITED STATES OF AMERICA                .   )                                LERK, U.S. DISiRiCT COURT
                                                                     ~ '
                                             )       No.09CR383- ~\
        vs.                                  )       Judge Ruben Castillo
                                             )
MARGARITO FLORES                             )

                                  PLEA AGREEMENT

       I.     This Plea Agreement between the Acting United States Attorney for the

Nmt.l-tem District of Illinois, GARY S. S!-L.AJ'IRO, and defenda.11t MARGARJTO FLORES,

and his attorney                                 made pursuant to Rule 11 of the Federal Rules

of Criminal Procedure and is governed in part by :Rule 11 (c)( 1)(C), as more fuHy set forth

below. The parties to this Agreement have agreed upon the following:

                                  Charges in This Case

       2.     The third superseding indictment in this case charges defendant with

conspiracy to possess with intent to distribute and to distribute controlled substances in

violation ofTitle 21, United States Code, Section 846:(Count One), and conspiracy to import

a controlled substance into the United States, in violation of Title 21, United States Code,

Section 963 (Count Two).

       3.     Defendant has read the charges against him contained in the third superseding

indictment, and those charges have been fully explained to him by his attorney.

       4.     Defendant fully understands the nature and elements of the crimes with which

he has been charged.




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                       Charge to Which Defendant is Pleading Guilty

       5.      By this Plea Agreement, defendant agrees to enter a voluntary plea of guilty

to the following count of the superseding indictment: Count One, which charges defendant

with conspiring to knowingly and intentionally possess with intent to distribute and to

distribute controlled substances, namely 5 kilograms or more of mixtures and substances

containing a detectable amount of cocaine, a Schedule II Narcotic Drug Controlled

Substance, and 1 kilogram or more of mixtures and substances containing a detectable

amount of heroin, a Schedu1c I }.J"arcotic Drug Controlled Substance, in violation ofTille 21,

United States Code, Section 84l(a)(l); all in violation of Title 21, United States Code,

Section 846. In addition, as fil.t~illcr provided below, defet1dant agrees to the entry of a

forfeiture judgment.

                                        Factual Basis

       6.     Defendant will plead guilty because he is in fact guilty of the charge contained

in Count One of the third superseding indictment. In pleading guilty, defendant admits the

foilowing facts and that those facts establish his guilt beyond a reasonable doubt, and

establish a basis for forfeiture of the property described elsewhere in this Plea Agreement:

       Beginning no later than in or about May 2005, and continuing until at least on or about

December I, 2008, at Chicago, in the Northern District of Illinois, Eastern Division, and

elsewhere, defendant MARGARJTO FLORES conspired with Joaquin Guzman-Loera, a/k/a

"El Chapo;" a/kJa "Chapo Guzman," Ismael Zambada-Garcia., a/k/a "El }..1ayo," a/l.lCfa "~v1ayo



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Zambada," Jesus VicenteZambada-Niebla, aJk/a "VicenteZambada-Niebla," aJk/a "Vicente

Zambada," a/k/a "Mayito," a/k/a "30," Alfredo Guzman-Salazar, aJk/a "Alfredillo," Alfredo

Vasquez-Hernandez, aJk/a "Alfredo Compadre," Juan Guzman-Rocha, a/kJa "Juancho,"

German Olivares, Felipe Cabrera-Sarabia, Tomas Arevalo-Renteria, and Pedro Flores, and

· with others known and unknown, knowingly and intentionally to possess with intent to

distribute and to distribute controlled substances, namely 5 kilograms or more of mixtures

and substances containing a detectable amount of cocaine, a Schedule II Narcotic Drug

Controllc.d Substance, and I kilogrant or more of mixtures and substances containing a

detectable amount of heroin, a Schedule I Narcotic Drug Controlled Substance, in violation

of Title 21, United States Code, Section841(a)(i); all in violation of Title 21, United States

Code, Section 846.

       In particular, MARGARITO FLORES, Pedro Flores, and their associates

(collectively, the "Flores Crew") operated a wholesale cocaine and heroin distribution

organization that distributed thousands ofkilograms of cocaine and multi-kilogram quantities

of heroin in the Chicago, Illinois, area and elsewhere. MARGARITO FLORES and Pedro

Flores obtained substantial quantities of cocaine and heroin from a drug trafficking

organization in Mexico under the control of Guzman-Loera and Zambada-Garcia -- known

at times as the "Federation," the "Sinaloa Cartel," and the "Sinaloa Federation"-- as well as

from other sources of supply, including from members and associates of a drug trafficking

organization ¥. . .'10\Vn
                    .     as the "Beltran-Le:r,...va Organization." At t.,c direction ofrv1ARGARITO



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                                                                                             PLEA_004_0065
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FLORES and Pedro Flores, the Flores Crew took receipt of multi-ton quantities of cocaine,

imported into the United States from Mexico, usually in shipments of hundreds ofkilograms

at a time, as wcii as multi-kilogram quantities of heroin, in Chicago, l1linois, and elsewhere.

The cocaine and heroin was provided to MARGARITO FLORES, Pedro Flores, and the

Flores Crew on consignment, without payment at the time of delivery. Payment was

subsequently made by MARGARITO FLORES, Pedro Flores, the Flores Crew, and others

on their behalf after some or all of the cocaine and heroin was sold to customers of

MAR_GAJ~JTO FLOFFS, Pedro Flores, aTJ.d the Flores Crevl.


       MARGARITO FLORES is aware that Guzman-Loera, Zambada-Garcia, and factions

of the Sinaloa Cartel controlled by them, coordinated their narcotics trafficking activities to

import multi-ton quantities of cocaine from Central and South American countries, including

Colombia and Panama, to the interior of Mexico, using various means, including but not

limited to, Boeing 74 7 cargo aircraft, private aircraft, submarines and other submersible and

semi-submersible vessels, container ships, go-fast boats, fishing vessels, buses, rail cars,

tractor trailers, and au1omobiies.

       At certain times during the conspiracy, the Flores Crew obtained and distributed from

Chicago, Illinois, and elsewhere, on average, 1500 to 2000 kilograms of cocaine per month,

and received some of that quantity (and at certain times all) from factions of the Sinaloa

Cartel led by Guzman-Loera and Zambada-Garcia. For some shipments of narcotics from

the Guzman-Loera Faction and Zambada-Garcia Faction, MARGARITO FLORES, Pedro



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.rlores, and the Flores Crew received the cocaine and heroin in the greater Chicago, Illinois

area. For other shipments, MARGARITO FLORES, Pedro Flores, and the Flores Crew

received the cocaine and heroin in the greater Los Angeles, California area, where truck

drivers for the Flores Crew transported the cocaine and heroin to the greater Chicago, Illinois

area for further distribution.

       MARGARITO FLORES, Pedro Flores, and the Flores Crew used several warehouse

locations to unload and store shipments of cocaine and heroin received from the Sinaloa

Ca<iel ilird others in the greater Chicago, Illinois area. lVIARGARlTO FLORES, Pedro

Flores, and the Flores Crew sold the cocaine and heroin for cash to wholesale customers in

the greater Chicago, Illinois area, as weli as to customers in the areas of Detroit, Michigan;

Cincinnati, Ohio; Philadelphia, Pennsylvania; Washington, D.C.; New York, New York;

Vancouver, British Columbia; Columbus, Ohio; and elsewhere. Wholesale customers in

these areas further distributed the cocaine and heroin to other areas, including Milwaukee,

Wisconsin.

       At the direction ofMARGARITO FLORES and Pedro Flores, members of the Flores

Crew were responsible for: (I) collecting and picking up payment from customers of the

Flores Crew; (2) delivering this money to various storage locations used by the Flores Crew;

(3) counting and packaging the money; and (4) reporting cash receipts to the MARGAIUTO

FLORES and Pedro Flores.




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       Also at the direction ofMARGARITO FLORES and Pedro Flores, members of the

Flores Crew and other co-conspirators counted cash narcotics proceeds and packaged them

so that they could be delivered to couriers vvho \vould transport t~em back to 1\1exico.

Members of the Flores Crew then delivered, and caused to be delivered, millions of dollars

in cash narcotics proceeds to other eo-conspirators, including members oft.~e Sina1oa C&.~el,

who smuggled the proceeds back to Mexico in bulk. MARGARITO FLORES and Pedro

Flores were aware that members and associates of the Sinaloa Cartel and either sources of

supply transported and caused the transportation of large quantities of cash narcotics

proceeds from locations in the United States to locations in Mexico.

       The Flores Crew routinely delivered large quantities of United States currency from

the sale of cocaine and heroin to the Sinaloa Cartel in one bulk shipment, without

differentiating which portions of the cash narcotics proceeds were in payment for cocaine

and heroin obtained from particular factions of the Sinaloa Cartel headed by Guzman-Loera

and Zambada-Garcia.

       At the direction of MARGARITO FLORES and Pedro Flores, the Flores Crew

maintained ledgers, in paper and electronic form, which tracked information relating to the

Flores Crew's drug-trafficking activities, including, but not limited to: (1) amounts of

narcotics received; (2) money sent to Mexican sources of supply, including the Sinaloa

Cartel; (3) amounts of narcotics delivered to customers of the Flores Crew; (4) the courier




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or couriers responsible for particular deliveries to customers; (5) money received from

customers; and (6) payments to members of the Flores Crew.

    . MARGARITO FLORES, Pedro Flores, and other members of the conspiracy used

coded language and other means to misrepresent, conceal and hide, and to cause to be

misrepresented, concealed and hidden, the drug trafficking activities ofthe conspiracy, a.nd

to avoid detection and apprehension by law enforcement authorities.

       Through the course of the above-described conspiracy, MARGARITO FLORES and

Pedro Flores, ruJ.d tt1.eir co-conspirators are responsible for approximately $938,415,0QO of

cash narcotics proceeds, in the form of bulk United States Currency, that was transported .

from the United States to l'vfexico in furtherance of the conspiracy.

       In approximately 2007, at the direction of Pedro Flores, Flores Crew member Cesar

Perez purchased a number of firearms - including 9 mm handguns, a .45 caliber handgun,

a .357 handgun and a .38 caliber revolver-to be distributed to customers of the Flores Crew.

Perez stored these firearms at one of the Flores Crew's stash houses located at 1272 Sante

Fe Road, Romeoville, Illinois. Also at the direction ofPedro Flores, in approximately 2007,

Perez purchased an AK-47, which he stored at one of the Flores Crew's stash houses located

at 14238 Napa Circle, Plainfield, Illinois.

       7.     The foregoing facts are set forth solely to assist the Court in determining .

whether a factual basis exists for defendant's plea of guilty and criminal forfeiture, and are




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not intended to be a complete or comprehensive statement of all the facts within defendant's

personal knowledge regarding the charged crime and related conduct.

       8.      Defendant. for oumoses of com outing his sentence under Guideline ~ !BL2,
                          '    ~   ...              J:   ~                               ....




stipulates to having committed the following additional offense( s), originally charged in the

United States District Court for the Eastern District of Wisconsi..n, and thereafter transferred

pursuant to Fed. R. Crim. P. 20 to the United States District Court for the Northern District

of Illinois as Case No. 09 CR 660: Beginning in or about September 2001, and continuing

thereafter unti] at least :t"~overnber 18, 2003, in the Stclte and Eastern District of Wisconsin

and elsewhere, MARGARITO FLORES and Pedro Flores knowingly and intentionally

conspired with each other) and with other persons known and unknown to the grand jury, to

distribute and to possess with the intent to distribute a controlled substance, namely five

kilograms or more of a mixture and substance containing cocaine, a Schedule II controlled ·

substance, in violation of Title 21, United States Code, Section 841 (a)( I); all in violation of

Title 21, United States Code, Sections 846.

       On or about April 17, 2003, in the State and Eastern District of Wisconsin,

MARGARITO FLORES and Pedro Flores knowingly and intentionally possessed with the

intent to distribute a controlled substance, namely. five kilograms
                                                              -     or more of a mixture and

substance containing cocaine, a Schedule II controlled substance, in violation of Title 21,

United States Code, Sections 84l(a)(l) and 84l(b)(J )(A).




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       On or about November 18, 2003, in the State and Eastern District of Wisconsin,

MAR GARITO FLORES and Pedro Flores knowingly and intentionally possessed with the

intent to distribute a controlled substance, namely five kilograms or more of a mixture and

substance containing cocaine, a Schedule II controlled substance, in violation of Title 21,

United States Code, Sections 84l(a)(l).

       From on or about July 1, 2001, to on or about February 19, 2004, in the State and

Eastern District of Wisconsin, and elsewhere, MARGARITO FLORES and Pedro Flores

kJlO\.Vingly and willfully conspired with each other, and with other persons known and

unknown to the grand jury, to conduct financial transactions involving the proceeds of

specified unlavvful activit""j, lu1owing that the transaction is designed, in whole or in part, to

conceal and disguise the nature, location, source, ownership and control of the proceeds of

specified unlawful activity, in violation of Title 18, United States Code, Section ·

1956(a)( 1)(B)(i).

       In particular, in or about December 2001, MARGARITO FLORES purchased a

property located in Oak Forest, Illinois. Although MARGARITO FLORES was the actual

owner of the property, Flores putthe property in the name of two other individuals, (hereafter

referred to as "Person A" and "Person B"). In connection with the purchase, Person A and

Person B applied for a mortgage from a legitimate financial institution. On the loan

application, Person A provided false income information. During 2003, PersonA and Person




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    B purchased money orders with proceeds from MARGARITO FLORES' and Pedro Flores'

    drug trafficking to pay the $2,133.81 monthly mortgage.

           In -or about Ja..nuary 2003, M..A. RGi\:.RITO FLORES is a\vare that-Pedro Flores

    purchased a property located in Romeoville, Illinois from two other individuals (hereafter

    referred to as uPerson C" a_11d "Person D"). Person D had purchased t._l)e property in or about

    2001, although he maintained his residence elsewhere in 200 J and 2002. In connection with

    the purchase, Pedro Flores applied for a mortgage from Express Mortgage. On the loan

    appiicaiion, Pedro Flores provided false income information. Pedro Flores reported he

    earned $6,000 monthly ($72,000 annually) from a barbershop. Pedro Flores paid over

    $13,000 at the closing in or about January 2003, and paid over $20,175 in total monthly

    mortgage payments during 2003 with proceeds from Pedro Flores' and MARGARITO

    FLORES' drug trafficking.

                                  Maximum Statutory Penalties

           9.     Defendant understands that the charge to which he is pleading guilty carries

    the following statutory penalties:

                  a_     A maximum sentence of life imprisonment, and a statutory mandatory

    minimum sentence of 10 -years. Pursuant to Title 18.- United States Code." Section '1~1)1
                                                                                         -~------,




    defendant may not be sentenced to a term of probation for this offense. This offense also

    carries a maximum fine of $4,000,000. Defendant further understands that the judge also




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must impose a tenn of supervised release of at least five years, and up to any number of

years, including life.

              h.         In accord with Title 18, United States Code, Section 3013, defendm1t

will be assessed $ t 00 on the charge to which he has pled guilty, in addition to any other

penalty imposed.

                              Sentencing Guidelines Calculations

       10.    Defendant understands that in imposing sentence the Court will beguided by

the United States Sentencing Guidelines.         Defendant understands that the Sentencing

Guidelines are advisory, not mandatory, but that the Court must consider the Guidelines in

determining a reasonable sentence.

       ll.    For purposes of calculating the Sentencing Guidelines, the parties agree on the

following points:

              a.         Applicable Guidelines. The Sentencing Guidelines to be considered

in this case are those in effect at the time of sentencing. The following statements regarding

the calculation of the Sentencing Guidelines are based on the Guidelines Manual currently

in effect, namely the November 2011 Guidelines Manual.

              b.         Offense Level Calculations.

                         1.    The    base     offense    level    IS   38,   pursuant     to

Guideline §§ 2Dl.l(a)(5) and 2Dl.l(c)(l) because the offense involved more than 150




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                       n.      The base offense level should be increased by two levels,

pursuant to Guideline § 2D 1.1 (b )(2) because the offense involved importation of a controlled

subst3J.'1Ce in ~which ai'1 aircraft other t"'lar1 a regularly scheduled commercial air C&"'"Tier \Vas

used to import or export the controlled substance and a submersible or semi-submersible

vessel as described in 18 U.S.C. § 2285 was used.

                       m.      The base offense should be increased by two levels pursuant to

§ 2D 1.1 (b )(12) because defendant maintained a premises for the purpose of manufacturing

or distributing a controlled substance.

                       IV.     The base offense level should be increased by two levels,

pursuant to Guideline § 2D 1.1 (c)( I) because a firearm was possessed in connection with the

offense.

                       v.      The base offense level should be increased by four levels,

pursuant to Guideline § 3Bl.l(a) because the defendant was an organizer or leader of a·

criminal activity that involved five or more participants or was otherwise extensive.

                       Vl.     The base offense level should be increased by ~.vo levels pursuant .

to§ 2D 1.1 (b )(14 )(C) because defendant receives an adjustment under§ 3B 1.1 and defendant

was directly involved in the importation of a controlled substance.

                       vn.     Defendant has clearly demonstrated a recognition and affirmative

acceptance of personal responsibility for his criminal conduct. If the government does not

receive additional evidence in conflict with this provision, and if defendant continues to



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accept responsibility for his actions within the meaning of Guideline§ 3El.l(a), including

by furnishing the United States Attorney's Office and the Probation Office witb all requested

fina..r'lcial "infonnation relevant to his ability to satisfy a.'ly fine- that- may be imposed in this

case, a two-level reduction in the offense level is appropriate.

                       vn1.    In accord \.Vith Guideline § 3E 1.1 (b), defendant has timely

notified the government of his intention to enter a plea of guilty, thereby permitting the

government to avoid preparing for trial and permitting tbe Court to allocate its resources

efficiently. Therefore, as provided by Guideline§ 3El.l(b), if the Court determines the

offense level to be 16 or greater prior to determining tbat defendant is entitled to a two-level

reduction for acceptance of responsibility, the government will move for an additional one- .

level reduction in the offense level.

                c.     Criminal History Category. With regard to determining defendant's .

criminal history points and criminal history category, based on tbe facts now known to tbe

government, defendant's criminal history points equal zero and defendant's criminal history.

category is L

                d.     Anticipated Advisory Sentencing Guidelines Range. Therefore,

based on the facts now !en own to the government, the anticipated offense !eve! is 4 7, which,

when combined witb tbe anticipated criminal history category ofi, results in an anticipated

advisory Sentencing Guidelines range of life imprisonment, in addition to any supervised




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release and fine the Court may impose. Defendant also acknowledges that he is subject to

a statutory minimum sentence of 10 years' imprisonment.




above Guideline calculations are preliminary in nature, and are non-binding predictions upon




or applicable legal principles may lead either party to conclude that different or additional

Guideline provisions apply in this case. Defendant understands that the Probation Office will

conduct its own investigation and that the Court ultimately determines the facts and law

relevant to sentencing, and that the Court's determinations govern the final Guideline

caicuiation. Accordingly, the vaiidity ofthis Agreement is not contingent upon the probation

officer's or the Court's concurrence with the above calculations, and defendant shail not have

a right to withdraw his plea on the basis of the Court's rejection of these calculations.

              f.     Both parties expressly acknowledge that this plea agreement is not

governed by Fed.R.Crim.P. 11 (c)(l )(B), and that errors in applying or interpreting any of the

Sentencing Guidelines may be corrected by either party prior to sentencing. The pa.rties may

correct these errors either by stipuladon or by a statement to the Probation Office or the

Court, setting forth the disagreement regarding the applicable provisions of the Guidelines.

The validity of this Plea Agreement will not be affected by such corrections, and defendant

shall not have a right to withdraw his plea, nor the government the right to vacate this Plea

Agreement) on the basis of such corrections.



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                                       Cooperation

       12.    Defendant agrees he will fully and truthfully cooperate in any matter in which

he is called upon to cooperate by a representative of the United States Atton1ey's Office for

the Northern District of Illinois. This cooperation shall include providing complete and .

truthful information in any investigation and pre-trial preparation and complete and truthful

testimony in any criminal, civil or administrative proceeding. Defendant agrees to the

postponement ofhis sentencing until after the conclusion ofhis cooperation. The parties will

make reasonable efforts to recommend a mutually agreeable date for sentencing.

                           Agreements Relating to Sentencing

       13.    At the time of sentencing, the government shall make known to the sentencing

judge the extent of defendant's cooperation. If the government determines that defendant has

continued to provide full and truthful cooperation as required by this Agreement, then the

government shall move the Court, pursuant to Guideline§ SKU and 18 U.S.C. § 3553(e), to

depart from the low end of the applicable Guideline range or the statutory minimum ·

sentence, whichever is higher, and to itupose a sentence within the range agreed to by the

parties as outlined below. Defendant understands that the decision to depart from the

applicable guidelines rar1ge &.Jd statutory minimum sentence rests solely with the Court.

       14.    ffthe government moves the Court, pursuantto Sentencing Guideline§ 5Kl.l

and 18 U.S.C. § 3553(e), to depart from the applicable Guideline range and the statutory

minimum. sentence, as set forth in the preceding paragraph, this Agreement will be governed,



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in part, by Federal Rule of Criminal Procedure 11 (c)( I )(C). At the time of the execution of

this Plea Agreement, it is the government's express intention to so move. That is, the parties

have agreed that the sentence imposed by the Court shali inciude a term of imprisomnent in

the custody of the Bureau of Prisons of no less than I 0 years and no more than 16 years.

Both parties shall be free lo recommend any sentence within the agreed range of l 0 to 16

years. Other than the agreed term of incarceration, the parties have agreed that the Court

remains free to impose the sentence it deems appropriate. If the Court accepts and imposes

a sentence within the agreed range of incarceration set forth, defendant may not withdraw

this plea as a matter of right under Federal Rule of Criminal Procedure ll(d) and (e). If,

however, the Court refuses to imoose
                                ..   a sentence within the af!feed
                                                            '-'    -ran<'e  - - -inc>~rceration set
                                                                     - --o- of




forth herein, thereby rejecting this Agreement, or otherwise refuses to accept defendant's

plea of guilty, either party has the right to withdraw from this Agreement.

       15.     If the government does not move the Court, pursuant to Sentencing Guideline

§ 5Kl.l and 18 U.S.C. § 3553(e), to depart from the applicable Guideline range and the

stah.. Jtory m1n1mum
              ••
                     sentence, as set +'1...1...    t...     ..r   ___   lr•••
                                      10fh1 auove, tue preceu1ng paragrapn or iniS p1ea


agreement will be inoperativ<;;, both parties shall be free to recommend any sentence, and the




§ 3553(a) as well as the Sentencing Guidelines, and the statutory minimum sentence without

any downward departure for cooperation pursuant to § 5K 1.1. ·Defendant may not withdraw




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his plea of guilty because the government has failed to make a motion pursuant to Sentencing

Guideline§ SKI.l and 18 U.S.C. § 3553(e).




         16.           Defendant agrees to pay the special assessment of $100 at the time of

sentencing with a cashier's check or money order payable to the Clerk of the U.S. District··.

Court.

         17.           After sentence has been imposed on the count to which defendant pleads guilty

as agreed herein, the government will move to dismiss the remaining counts of the·

superseding indictment as to defendant.

                                                              Forfeiture

         18.           The third superseding indictment charges that defendant is liable to the United ·• ·

States for approximately $938.415.000. which funds are subiect to forfeiture becauset.hose·:
               -   ~            ~       -      -·         ~                       .J




funds constitute proceeds of the violation to which defendant is pleading guilty: Defendant ·

expressly acknowledges that the following funds constitute proceeds of the violation· to

·which defendant is pleading guilty: (1) $81,500 seized from Individual A on or about

September I, 201 0; (2) $10,000 used as a down payment on a vacant lot seized from                                                 ·
                                                                                                                              '
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                                on or au1- out 0epten1uer
                                                    ("1
                                                          l1, "'n" .-~
                                                              L.vvq;   anu ~.) J tne pnnc1pa1 oa1ance, p!us- _
                                                                      ""7     J        /-"''   ,   •   •   ,   •    •      ., •




any accrued interest, held in the Client Fund Account deposited at                                                                ·

                                                                                                                   and bearing ·

account number                              (the                  Client Account"). Defendant agrees to the



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forfeiture of any and all funds held in this account with the exception of a total of $300,000

to be distributed between the families of defendant and co-defendant Margarita Flores.

Defendant ft.Irther acktJ.oVv·lcdgcs that t.,e 2008 Land Rovei seized from Individual A on or

about September 2, 2010 was purchased with proceeds of the violation to which defendant

is pleading guilty. By entry of a guilty plea to the charge in the superseding indictment,

defendant acknowledges that the property and funds identified above are subject to forfeiture.

       19.    Defendant agrees to the entry of a forfeiture judgment in an amount calculated

as follows: all funds on deposit in the        Client Account as of the date of sentencing or

as of a mutually-agreed date of disbursement in advance of sentencing (the account balance

as of August 7, 2012 totaled $3,861,542.24), including any additional accrued interest, less

$300,000 for distribution to defendant and co-defendant's families, as described in "1[18

above. Defendant and his counsel agree to remit payment in the above-calculated amount

to the U.S. Marshals Service. Defendant further agrees to the entry of a forfeiture judgment

against the property identified above, in that this property is subject to forfeiture. Prior to

sentencing, defendant agrees to the entry of a preliminary order of forfeiture relinquishing.

any right of ownership he has in the above-described funds and further agrees to the seizure

of these funds and property so that these funds may be disposed· of according to !a\v.

       20.    Defendant understands that forfeiture of this property shall not be treated as

satisfaction of any fine, cost of imprisonment, or any other penalty the Court may impose

upon defendant in addition to the forfeiture judgment.



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         21.       Defendant further acknowledges that administrative forfeiture proceedings

were commenced against certain property, including: (I) a 2009 Bentley Continental Flying

Spur, seized from Individual B, declared administratively forfeited by the Drug Enforcement

Administration (DEA) on or about April25, 2011; (2) a 2003 Lexus GX470, seized from

Individual C, declared administratively forfeited by DEA on September 28, 2004; (3)

$406,137 worth of assorted jewelry seized from Pedro Flores, declared administratively .

forfeited by DEA on August 25, 2004; (4) a 2003 Lexus SUV, seized from Individual D,

declared administratively forfeited by DEA on June 24, 2004; (5) one pair of diamond

earrings seized from Individual D, declared administratively forfeited by DEA on June 24,

2004:. (6)
       '-  $8.850
           ~ .    worth of--------------------
                           assorted electronic eoninment ,,;7,,.1 frnm Tnclivi<in~l ..........
                                                                                    P , declared .
                                                                                -""1~-_r-----------------------·-----




administratively forfeited by DEA on June 24, 2004; (7) $15,000 in assorted electronic

equipment seized from Individual F, declared administratively forfeited by DEA on February

19, 2004; (8) $6,425 in assorted electronic equipment seized from Pedro Flores, declared

administratively forfeited by DEA on June 24, 2004; $6,132 seized from Individual E;

declared adn1inistratively forfeited by ·DEA on June 3, 2004; (9) $3,419 seized from

Individual D, declared administratively forfeited by DEA on June 3, 2004; and (10) $4,995

TTC"r'I~~:~~..J.C..--T-..l~-.~..J   ___ t r   ..J   _, ____ J   _   _j ___ •    ·-~   _ _,._   1   r-   T'   •,   ,,   ,...,..~   .,.   '"'"'   ................ ,
uu\.....- ;)C::!L.vu uuu1 u1u1 v 1uua1 r, uet:mn::u aurrurnsLrauve1y !Orrei reo oy u~A. on June JU, LVU+.


Defendant relinquishes all right, title, and interest he may have in this property and

understands that declarations of forfeiture have been or will be entered, extinguishing any

claim he may have had in the seized property.



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                 Acknowledgments and Waivers Regarding Plea of Guilty

                                  Nature of Plea Agreement

         22.    This Plea Agreen1ent is entirely voluntary a:nd represents the entire agreement

between the United States Attorney and defendant regarding defendant's criminal liability

in case 09 CR 383.

         23.    This Plea Agreement concerns criminal liability only. Except as expressly set

forth in this Agreement, nothing herein shall constitute a limitation, waiver or release by the

United States or any of its agencies of any administrative or judicial civil claim, demand or

cause of action it may have against defendant or any other person or entity. The obligations

ofthis Agreement are limited to the United States Attorney's Office for the Northern District

of Illinois and cannot bind any other federal, state or local prosecuting, administrative or

regulatory authorities, except as expressly set forth in this Agreement.

                                        Waiver of Rights

         24.    Defendant understands that by pleading guilty he surrenders certain rights,

including t..l}e fo!lnvving:

                a.      Trial rights. Defendant has the right to persist in a plea of not guilty




trial.

                        1.     The trial could be either a jury trial or a trial by the judge sitting

without a jury. However, in order that the trial be conducted by the judge sitting without a



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jury, defendant, the government, and the judge all must agree that the trial be conducted by

the judge without a jury.

                      u.     If the trial is a jury trial, the jury wouid-b~ composed oftvvelve

citizens from the district, selected at random. Defendant and his attorney would participate

in choosing the jury by requesting that the Court rernove prospective jurors for cause where

actual bias or other disqualification is shown, or by removing prospective jurors without

cause by exercising peremptory challenges.

                     111.    If the trial is a jury trial, the jury would be instructed that

defendant is presumed innocent, that the government has the burden of proving defendant

guilty beyond a reasonable doubt, and that the jury could not convict him unless, after

hearing all the evidence, it was persuaded of his guilt beyond a reasonable doubt and that it

was to consider each count of the superseding indictment separately. The jury would have

to agree unanimously as to each count before it could return a verdict of guilty or not guilty

as to that count.




find the facts and determine, after hearing all the evidence, ar1d considering each count

separately~ whet.her or not t..lJ.e judge \Vas persuaded that the govern_t~ent had established


defendant's guilt beyond a reasonable doubt.

                     v. ·   At a trial, whether by a jury or a judge, the government would

be required to present its witnesses and other evidence against defendant. Defendant would



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be able to confront those government witnesses and his attorney would be able to cross-

examine them.

                                v1.       At a trial, defendant could present witnesses and other evidence .

in his own behalf. If the witnesses for defendant would not appeai voluntarily, he could·

require their attendance through the subpoena power of the Court. A defendant is not··

required to present any evidence.

                                Vll.      At a trial, defendant would have a privilege against self~·.

incrimination so that he could decline to testifY, and no inference of guilt could be drawn

from his refusal to testifY. If defendant desired to do so, he could testifY in his own behalf, ..

                                Vlll.     With resoect to forfeiture. defendant understands th~t ifth" '""" ···
                                                      ~                 >                   ---------------   ---~~   --   ---    --':"-·        •




were tried before a jury, he would have a right to retain the jury to determine whether the:c· ·

government had established the requisite nexus between defendant's offense and anv snecific ·
-                                               .._                                                           .       "    ..l   ..       --~-




property alleged to be subject to forfeiture.

                       b.       Waiver of appellate and collateral rights.                           Defendant further

    ..l   ..   ..t   t..    .    .    .    11         11   •        l       -   .   ,   1   t            .,   1 ,     • f" 1          ,      1
unuerst-ai1uS ue iS waiving au appeuate Issues tnat nngnt nave oeen avauao1e II ne naa :.•'

exercised his right to trial. Defendant is aware that Title 28, United States Code, Section'.

1291, &ld Title 18, United States Code, Section 3742, afford a defendant the right to appeai ·

his conviction and the sentence imposed. Acknowledging this, defendant knowingly waives

the right to appeal his conviction, any pre-trial rulings by the Court, and any part of the.

sentence (or the manner in which that sentence was determined), including any term of·



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imprisonment and fine within the maximums provided by law, and including any order of

forfeiture, in exchange for the concessions made by the United States in this Plea Agreement.

In addition,· defendant also waives his right to challenge his conviction and sentence, and the

manner in which the sentence was· determined, and (in any case in which the term of

imprisonment and t1ne are within the maximums provided by statute) his attorney's alleged

failure or refusal to file a notice of appeal, in any collateral attack or future challenge,

including but not limited to a motion brought under Title 28, United States Code, Section

2255 .The waiver in this paragraph does not apply to a claim of involuntariness, or ineffective

assistance of counsel, which relates directly to this waiver or to its negotiation, nor does it



that is applicable to defendant and that, prior to the filing of defendant's request for relief,

has been expressly made retroactive by an . t\ct
                                            . of Congress, the Supreme Court, or the United

States Sentencing Commission.

               c.     Defendant understands that by pleading guilty he is waiving all the

rights set forth in the prior paragraphs, with the exception of the appeiiate rights specifically

preserved above.      Defendant's attorney has explained those rights to him, and the

consequences of his waiver of those rights.

       25.    Defendant understands that he has the right to be prosecuted for any criminal

offense in the district or districts where the offense was commi-tted. By signing this Plea




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Agreement, defendant knowingly consents to prosecution of the charges against him in the

Northern District of Illinois and waives any objection to the venue of this prosecution.

             Presentenceinvestigation ReportiPost-Sentence Supervision

       26.    Defendant understands that the United States Attorney's Office m its

submission to the Probation Office as part of the Pre-Sentence Report and at sentencing shali

fully apprise the District Court and the Probation Office of the nature, scope and extent of

defendant's conduct regarding the charges against him, and related matters. The government

will make known all matters in aggravation and mitigation relevant to sentencing, including

the nature and extent of defendant's cooperation.

       27.    Defendant agrees to truthfully and completely execute a Financial Statement

(with supporting documentation) prior to sentencing, to be provided to and shared among the

Court, the Probation Office, and the United States Attorney's Office regarding all details of

his financial circumstances, including his recent income tax returns as specified by the

probation officer. Defendant understands that providing false or incomplete information, or

refush~g to provide this information, may be used as a basis for denial of a reduction for


acceptance of responsibility pursuant to Guideline § 3E 1.1 and enhancement of his sentence

for obstruction of justice under Guideline § 3C 1.1, an.d may be prosecuted as a violation of

Title 18, United States Code, Section 1001 or as a contempt of the Court.

       28.    For the purpose of monitoring defendant's compliance with his obligations to

pay a fine during any term of supervised release to which defendant is sentenced, defendant



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further consents to the disclosure by the IRS to the Probation Office and the United States

Attorney's Office of defendant's individual income tax returns (together with extensions,

cOrrespondence, and other tax information) filed subsequent to defendant's sentencing, to and

including the final year of any period of supervised release to which defendant is sentenced.

Defendant aiso agrees that a certified copy of this Plea Agreement shaii be sufficient

evidence of defendant's request to the IRS to disclose the returns and return information, as

provided for in Title 26, United States Code, Section 61 03(b ).

                                       Other Terms

       29.    Defendant agrees to cooperate with the United States Attorney's Office in

collecting any unpaid fine for which defendant is liable, including providing financial

statements and supporting records as requested by the United States Attorney's Office.

                                        Conclusion

       30.    Defendant understands that this Plea Agreement will be filed with the Court,

will become a matter of public record and may be disclosed to any person.

       31.    Defendant understartds · that his cotnpliance with each pari of this Plea

Agreement extends throughout the period of his sentence, and failure to abide by any term

of the Agreement is a violation ofth.e Agreen1ent. Defendant further understands that in the

event he violates this Agreement, the government, at its option, may move to vacate the

Agreement, rendering it null and void, and thereafter prosecute defendant riot subject to any

of the limits set forth in this Agreement, or may move to resentence defendant or require



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defendant's specific performance of this Agreement. Defendant understands and agrees that

in the event that the Court permits defendant to withdraw from this Agreement, or defendant

breaches any of its terms and t~e government elects to ·void the 1~·~greement a...'1d prosecute.·

defendant, any prosecutions that are not time-barred by the applicable statute of limitations

on the date of the signing of this ./\.greement may be co1n.'.nenced against defendm1t in

accordance with this paragraph, notwithstanding the expiration of the statute oflimitations

between the signing of this Agreement and the commencement of such prosecutions.

       32.    Should the judge refuse to accept defendant's plea of guilty, this Plea

Agreement shall become null and void and neither party will be bound thereto.

       33.    Defendant and his attorney acknowledge that no threats, promises, or

representations have been made, nor agreements reached, other than those set forth in this

Plea Agreement to cause defendant to plead guilty.




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      34.    Defendant acknowledges that he has read this Plea Agreement and carefully

reviewed each provision with his attorney.      Defendant further acknowledges that he

understandS aiJd voluntarily atcepts each and every tenn and condition of this Agreement.




        AGREED TH:IS DATE:




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                                                                                  PLEA 004 0089
